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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                       )
 J.D., on behalf of herself and others similarly       )
 situated, et al.,                                     )
                                                       )
                        Plaintiffs,                    )
                                                       )   No. 17-cv-02122-TSC
  v.                                                   )
                                                       )
 ALEX M. AZAR, et al.,                                 )
                                                       )
                        Defendants.                    )
                                                       )

            JOINT STATUS REPORT PURSUANT TO JOINT STIPULATION

       We respectfully submit this status update to inform the Court that the parties met and

conferred on February 7, 2020, to discuss the status of Defendants’ policy-making, as directed by

the Court on January 13, 2020. ECF 157. Defendants’ counsel have informed Plaintiffs’ counsel

that Defendants are continuing to work to draft a policy and at this time appear on track to complete

the policy and to have distributed the policy to Plaintiffs’ counsel for their review in advance of

the stay expiring on March 9, 2020. Upon Plaintiffs’ receipt and review of the policy, the parties

will meet and confer to determine whether further litigation of the parental notification policy is

required and, if so, to discuss a proposed briefing schedule.

February 7, 2020                              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 7, 2020, I electronically filed the foregoing document

with the Clerk of the Court for the United States District Court for the District of Columbia by

using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.


                                     By:    /s/ Christina P. Greer
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                                            United States Department of Justice
                                            Civil Division
